911 F.2d 720Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Kareem ABDULLAH, a/k/a Herman Craig, Petitioner-Appellant,v.Laurie BESSINGER, Warden Kirkland Correctional Institution,Attorney General of South Carolina, T. TravisMedlock, Respondents-Appellees.
    No. 90-7056.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 9, 1990.Decided July 20, 1990.
    
      Appeal from the United States District Court for the District of South Carolina, at Columbia.  G. Ross Anderson, Jr., District Judge.  (C/A No. 88-1843-3)
      Kareem Abdullah, appellant pro se.
      Frank Louis Valenta, Jr., Assistant Attorney General, Columbia, S.C., for appellees.
      D.S.C.
      DISMISSED.
      Before SPROUSE and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Kareem Abdullah seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Abdullah v. Bessinger, C/A No. 88-1843-3 (D.S.C. Apr. 30, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    